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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

CECIL BREWINGTON 4
479 Tatoe Road '
Willard, NC 27592

and

Plaintiffs from Alabama:

JERRY COOPER
11654 Co. Rd. 59
Verbena, AL 36091

and

ARTHUR GRIFFIN
225 Alpine Street
Brundidge, AL 36010

and

CHARLIE H. HARRIS
213 Alpine Street ~
Brundidge, AL 36010

and

WILLIAM LAMPLEY
Rt. 3 Box 748
Brundidge, AL 36010

and
HENRY SIMMONS S

Rt. 2, Box 2
Banks, AL 36005-9201

and
WILLIE FRANK WHEELER
Rt. 3, Box 585
Brundidge, AL 36010
and
PAUL WINGARD
Rt. 2 Box 185-C
Goshen, AL 36035

and

CASE NUMBER 1:98CV01693
JUDGE: Paul L. Friedman
DEGK TYPE: Civil General
DATE STAMP: 07/07/98

Class Action Complaint

Containing 129 Plaintiffs/
Class Representatives
—<—<— ———

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ROY G. WOOD
Rt. 2 Box 244
Goshen, AL 36035

and
Plaintiffs from Arkansas:
ARTHUR AMOS JS
P.O. Box 234
Altheimer, AR 72004

and

RANSOM ARNOLD
1190 Highway 121 N.
Moro, AR 72368

and
WEST BONES, UR.

Rt. 2, Box 34
Holly Grove, AR 72069

and
CLARENCE POLK
Rt. 1, Box 258-C
Star City, AR 21667
and

Plaintiffs from Georgia:

HUBERT BROWN
CAROL JEAN BROWN
Route 1

Whigham, GA 31797

and
WILLIE HEAD, JR.
Route 2, Box 229A
Pavo, GA 31778
and
ANDREW JACKSON

Route 2, Box 2165
Morven, GA 31638

and

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CLEM JONES So
P.O. Box 358
Tyrone, GA 30290

and
AARON MOBLEY S/S
P.O. Box 266
Quitman, GA 31643

and
Plaintiffs from Kansas:
THEODORE F.B. BATES
717 W. McFarland
Hill City, KS 67642

and
Plaintiffs from Louisiana:
WILBERT WALKER SL
18490 LA Highway 417
Lettsworth, LA 70753

and
Plaintiffs from Michigan:
John M. DeCoudreaux S

25619 76° Street
South Haven, MI 49090

and

Plaintiffs from Mississippi:

ROY H. ADAMS YL
P.O. Box 516
Arcola, MS 38722

and
LARRY ALEXANDER /
P.O. Box 217 JS

223 N. Park Street
Merigold, MS 38759

and
HERBERT C. ALLEN, JR. aA

Route 1, Box 321
Silver City, MS 39166

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and

JAMES C. BACON
121 Bacon Cove
Camden, MS 39045

and

STANLEY BACON ra
128 Bacon Cove
Camden, MS 39045

and

‘

W.E. BRANDON pe
2035 Cedar Road
Mound Bayou, MS 38762

and

JOSEPH BROWN
Route 2, Box 51
Roxie, MS 39661

and

LEON E. BROWN we
817 Lamar Avenue
Yazoo City, MS 39194

and

WILLIE J. BURNS
615 Thomas Avenue
Yazoo City, MS 39194

and

JAMES CARTHAN
P.O. Box 29
Tchula, MS 39169

and

JOSEPH CARTHAN YL
P.O. Box 29
Tchula, MS 39169

and
MICHAEL V. CHATMAN

P.O. Box 804
Mound Bayou, MS 38762

aa

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and

RONALD CLARKE YL
Route 2, Box 180
Tchula, MS 39169

and

ALBERT J. COOPER
P.O. Box 236
Anguilla, MS 38721

and

ANDREW L. COOPER
1034 Marcela Road
Belzoni, MS 39038

and

ELIJAH COLE JR.
115 Loring Rd.
Pickens, MS 39146

and

HOUSTON COLEMAN S
1429 Cedar Road
Mound Bayou, MS 38762

and

ROBERT COLEMAN
1355 Cedar Road
Mound Bayou, MS 38762

and
JIMMY L. CURRY v
P.O. Box 83
Hermanville, MS 39086
and
ALFORT DAVIS my

403 East 14° Street
Yazoo City, MS 39194-2625

and
ADELL DAVIS Sr.

1298 Thyatira Tyro Rd.
Senatobia, MS 38668

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and

ALICE DAVIS for

HENRY DAVIS (deceased)
707 H. Davis Road
Tchula, MS 39169

and

HAROLD L. DAVIS S
P.O. Box 607
COLDWATER, MS 38618

and

ONZIE GLEN
5856 Loakfoma Road
Louisville, MS 39339

and

MARQUIS GRANT
113 Royal Oak Rd.
Canton, MS 39046

and

WILLIAM HAMKLIN
125 Hamklin Road
Canton, MS 39046

and

THETIS HARDY fo
14 Hardy Road |
Shaw, MS 38773

and

GEORGE HENDERSON
505 Stimpbridge Road
Canton, MS 39046

and
CARY HOLMES yh

P.O. Box 73
Bentonia, MS 39040

and
MARK A. HOUSTON

Route 1, Box 144
Tillatoba, MS 38961

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and

LEE ANDREW HOWARD So
P.O. Box 323
Port Gibson, MS 39150

and
OLLIE HUDSON
1517 Arnolds St.
Cleveland, MS 38732

and

TOBIAS JENKINS ao

925 Mattingly Drive
Greenville, MS 38703

and

CLINTON F. JOHNSON, Jr.
1542 Fairwood Drive
Jackson, MS 39213

and

GARRETT JOHNSON
860 Fire Town Road
Lexington, MS 39095

and

SAMMY JOHNSON
185 S. Main Street
Drew, MS 38737

and

WILLIE JOHNSON
6072 Holbrook Dr.
Jackson, MS 39106

and

FREDDIE JONES
P.O. Box 148
Mayersville, MS 39113

and
WILLIE E. LANE

436 Roberts Road
Canton, MS 39046

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and

JAMES MADLOCK SA
Route 1, Box 548
Merigold, MS 38759

and

ANDRE MATHEWS /
1760 Highway 310
Waterford, MS 38685

and

KENZIE McGINNIS
Route 5, Box 188
Yazoo City, MS 39194

and

CURTIS MILLER
76 CR 7411
Booneville, MS 38829

and |

v

TED MILLER S
P.O. Box 4944
Greenville, MS 38701

and

JESSIE MOORE
P.O. Box 292
Tchula, MS 39169

and

ROGERS B. MORRIS SL
P.O. Box 567
Mound Bayou, MS 38762

and

CARL PERRY
2001 S. Bishop Road
Boyle, MS 38730

and
JAMES W. PIGGS

P.O. Box 333
Glen Allen, MS 38744

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and

EDDIE REED
P.O. Box 136
Grace, MS 38745

and

JAMES SANDERS

MATTIE SANDERS

143 Little Mound Bayou Road
Mound Bayou, MS 38762

and

WILLIE EF. SIAS
R 2, BOX 443
Rolling Fork, MS 39159

and

OLIVER SHORT
RT. 2, Box 134
Charleston, MS 38921

and

EDWARD SMITH
P.O. Box 117
Sidon, MS 38954

and

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VERNON SMITH S
P.O. Box 519
Tchula, MS 39169

and
W.C. SPENCER Jr.
P.O. Box 34
Como, MS 38619
and
McARTHUR STRAUGHTER
P.O. Box 1254
Yazoo City, MS 39194

and

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JOHNNIE THOMAS
P.O. Box 35
Grace, MS 38745

and

HARRY P. THURMOND
P.O. Box 469
Tchula, MS 39149

and

WILLIAM WATKINS
528 South Ross Rd.
Mound Bayou, MS 38262

and

BOBBY WELLS S
Route 2, Box 327
Charleston, MS 38921

and

MICHAEL A. WHITE
129-C Andrew Lane
Canton, MS 39046

and

CARL WHITTINGTON
4497 Hwy. 16, East
Canton, MS 39046

and

CLEOTHA WILLIAMS
P.O. Box 433
Shaw, MS 38773

and

HERBERT WILLIAMS
600 Flowtree Road
Vicksburg, MS 39156

and
JOHN A. WILLIAMS, Jr.
Post Office Box 72
Midnight, MS 39115

and
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ROBERT WILLIAMS
SUSIE L. CROFT
805 Westside Drive

Belzoni, MS 39038
and

RAPHAEL L. WILLIAMS “i
200 Perry Williams Road
Madison, MS 39110

and
SANDERS WILLIAMS
Route 1 Box 90
Rosedale, MS 38769
and
FREDDIE L. WINTERS
P.O. Box 1042
Cleveland, MS 38732
and
PERRY WOODS

P.O. Box 118
Shaw, MS 38773

and
Plaintiffs from Missouri:
WILLIE & GRETHEL RICHARDSON a
ERIC RICHARDSON we
DIONYSIA RICHARDSON-SMITH
Route 1, Box 60
New Madrid, MO

and
GARON TRAWICK
Route 2, Box 626
Hayti, MO 63851

and
Plaintiffs from North Carolina:
PHILLIP R. BARKER
Gela Rd.
Oxford, NC 27565

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and

CHENAY COSTEN A
P.O. Box 109 ,
Sunbury, NC 27979

and
PERCY DAVIS
Rt. 1, Box 35
Hobgood, NC 27843
and
SHEILA W. HARVEY SL
P.O. Box 1233
Kenansville, NC 28349
and
EDISON LAMONT SMITH, Jr.
P.O. Box 889
Weldon, NC 27890
and
LARRY R. WHITT
9696 Dirgis Mine Rd.
Roxboro, NC 27573
and

Plaintiffs from Oklahoma:

LAWRENCE L. BRECKENRIDGE
Route 4, Box 142
Bristow, OK 74010-9119

and
GEORGE C. ROBERTS, Jr.

Rt. 4, Box 128
Holdenville, OK

74848

and
Plaintiffs from South Carolina:
ENOCH EDWARDS, JR.
1252 Homestead Drive
Hartsville, SC 29550

and

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HEZEKIAH GIBSON
909 Branchview Drive
Manning, SC 29102

and
WALTER GORE

2121 Frank Gore Road
Little River, SC 29566

and
THEODORE HOUGH
2017 Gum Cir.
Hartsville, SC 29558

and

ANDREW B. JOHNSON
P.O. Box 1362
Lake City, SC 29560

and

CHARLIE MACK 7

c/o Sandra Mack Kelly

1664 Syracuse Community Road
Darlington, SC 29532

and

WALTER TERRELL

c/o Lucy Ibemere
113 Sheridan Drive
Columbia, SC 29223

and
Plaintiffs from Tennessee:
DAVID E. BOYD
3590 Harrell Road
P.O. Box 184
Arlington, TN 38002
and
TOM GARY EWELL
210 Price Road
Moscow, TN 38057

and

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ERNE SS

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ROBERT H. TAYLOR

785 Bey Street

Memphis, TN 38114
and

JACK TYUS

562 Keeling Road

Stanton, TN 38069

and

Plaintiffs from Texas:

JAMES JENKINS 2.14
1101 Springhill Drive ©
Waco, TX 76705

And

Plaintiffs from U.S. Virgin Islands:

KIRK A. BENOIT
P.O. Box 976
St. Croix, USVI 00821

and

So

ABERRA BULBULLA
P.O. Box 3845
St. Croix, USVI 00851-3845

and
CARL CHRISTOPHER SL

P.O. Box 1220
St. Croix, USVI 00851

and
DENNIS CONNELL
P.O. Box 221
St. Croix, USVI 00841
and
BENJAMIN JACOBS-EL
P.O. Box 604 Kingshill Sta.
St. Croix, USVI 00841

and

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VANNICO HANNEY
Plot 116
St. Croix, USVI 00851

and

ALPHONSO L. JAMES
P.O. Box 235
St. Croix, USVI 00851

and

SAMUEL MOORE LS
P.O. Box 3372
St. Croix, USVI 00851

and

JOAN NELSON
P.O. Box 3698
St. Croix, USVI 00851

and

DELROY A. PETERSEN
P.O. Box 2794
St. Croix, USVI 00851

and

MARTIN REYNOLDS
P.O. Box 2936
St. Croix, USVI 00841

and

WAYNE M. SMITH
P.O. Box 5097 S.I.
St. Croix, USVI 00823-5097

and
/

LEONA WATSON :

CURNEALL WATSON 7

GAIL CHIANG

No. 1, 2 & 3 Estate Spring Garden
St. Croix, USVI 00840

and

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Plaintiffs from Virginia:

JAMES B. BEVERLY, Ur.
P.O. Box 522
Burkeville, VA 23922

and
MACIO HILL LS
P.O. Box 65

Burkeville, VA 23922

and
MASHELIA GRANDISON-KIZZIE
23524 Carson Road
Dinwiddie, VA 23841

ON BEHALF OF THEMSELVES AND
ALL OTHERS SIMILARLY SITUATED,

Plaintiffs,
vs.
DAN GLICKMAN, Secretary
THE UNITED STATES DEPARTMENT
OF AGRICULTURE
14th and Independence Avenue, S.W.
Washington, D.C. 20250

Defendant.

CLASS ACTION COMPLAINT
(FOR DECLARATORY JUDGMENT, REVIEW OF AGENCY
ACTION, VIOLATIONS OF EQUAL CREDIT OPPORTUNITY ACT,
VIOLATIONS OF TITLE VI OF CIVIL RIGHTS ACT OF 1964
AND OTHER RELIEF)

The individual and representative plaintiffs (listed in the
caption) ("plaintiffs"), on behalf of themselves and all others
similarly situated, complain of defendant as follows:

NATURE OF THE CASE

This case involves defendant's administration, during the

period January, 1983, to the filing date of this lawsuit, of

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applications by African-American farmers for farm loans and credit
and participation in federal farm programs, (referred to
hereinafter as, generally, "farm programs"). Plaintiffs contend
that defendant, when processing applications of African-American
farmers for farm programs (1) willfully discriminated against them,
and (2) when, in response, plaintiffs filed written discrimination
complaints with defendant, defendant failed, although required by,

inter alia, the Civil Rights Act of 1964 and the Equal Credit

Opportunity Act, to investigate the complaints. For example, when
African-American farmers filed complaints of discrimination with
defendant, defendant willfully either (a) avoided processing and
resolving the complaints by stretching the review process out over
many years; (b) conducted a meaningless, or "ghost investigation",
or (c) failed to do anything. These two acts: (1) the discrimina-
tion in denial of the application and (2) the failure to properly
investigate the discrimination complaints, deprived the African-

American farmers, inter alia, of equal and fair access to farm

credit and farm programs, and due process, resulting in damages to
them.

In May, 1997, defendant's officials admitted that in early
1983, the Reagan administration had quietly disbanded and disman-
tled the civil rights enforcement arm at United States Department
of Agriculture ("USDA") and that discrimination complaints had not
been properly investigated since that time (from 1983 to 1997).
Two federal reports, issued in February, 1997, verified these
facts. At the same time, defendant announced, in a nationwide
campaign, that defendant was still receptive to receiving

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complaints from black farmers. Therefore, throughout 1997, black
farmers continued to file administrative complaints of racial
discrimination with defendant.

On August 28, 1997, black farmers who had been deprived of
their due process rights in this regard filed a lawsuit against the

USDA in federal court entitled Pigford v. Glickman. As per the

class definition, the Pigford plaintiffs are:
all black participants in FSA’s farm programs who petitioned
USDA at any time between January 1, 1983 and February 21,
1997, for relief from acts of racial discrimination visited on
them, but who were denied equal protection under the laws of
the United States and deprived of due process in the handling
of their discrimination complaints.
This definition limited admission into the Pigford class to
farmers who filed discrimination complaints prior to February 21,
1997. As of June 30, 1998, there were 400 named plaintiffs in

Pigford v. Glickman. However, there are hundreds of black farmers

who filed administrative complaints with defendant after February

21, 1997 (the cut-off date for the class in Pigford v. Glickman).

On December 8, 1997, defendant acknowledged that 390 black
farmers had filed administrative discrimination complaints in 1997,
each involving discrimination occurring prior to 1997. Plaintiffs
contend that the vast majority of these complaints were filed after
February 21, 1997.

Since these black farmers were not eligible to join Pigford v.
Glickman, their filing of administrative complaints with defendant
was their sole remedy.

However, on February 11, 1998, the Director of defendant’s

Office of Civil Rights stated that all discrimination complaints

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that could not withstand the two-year statute of limitations are
time-barred and would not be reviewed. Letter from Lloyd Wright,
Acting Director, USDA Office of Civil Rights, to Malcolm 0.
Harrison, Esq., February 11, 1998, attached hereto as Exhibit A.
The Director reiterated this policy on April 30, 1998. Letter from
Lloyd Wright to T. Roe Frazer, Esq., April 30, 1998, attached
hereto as Exhibit B. These rulings eliminated relief for hundreds
of black farmers who filed administrative complaints of racial
discrimination after February 21, 1997.

The proposed Class of this lawsuit consists of all black
participants in FSA’s farm programs who petitioned USDA at any
time between February 21, 1997, and the filing date of this
lawsuit for relief from acts of racial discrimination visited on
them, and who were denied equal protection under the laws of the
United States and deprived of due process in the handling of

their discrimination complaints.

JURISDICTION

1. Jurisdiction is founded upon 15 U.S.C. §1691, 28 U.S.C.
1331, 28 U.S.C. §1343, 28 U.S.C. 2201, 42 U.S.C. 2000d and 5 U.S.C.

706.

VENUE

2. Venue lies in this judicial district because the claim

arose in this judicial district, and pursuant to 28 U.S.C. 1391 (e).

PARTIES
3. Plaintiff and proposed Class representative, Cecil H.
Brewington ("Brewington"), is an African-American farmer and

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resident of Willard, North Carolina. Mr. Brewington (a) timely
applied for various loan programs with defendant during the years
1982 through 1991 and was the subject of willful and continuous
racial discrimination, including denial of his applications for
farm ownership loans, and refusal to provide operating credit, and
appropriate loan servicing, by reason of his race, causing him
substantial damages and (b) timely filed a complaint with defendant
of these acts of discrimination, which complaint was filed on April
14, 1997, but was not resolved.

4, Each of the remaining plaintiffs and proposed Class
representatives, beginning with the second plaintiff, is an
African-American farmer and resident of either Alabama, Arkansas,
Georgia, Kansas, Louisiana, Michigan, Mississippi, Missouri, North
Carolina, Oklahoma, South Carolina, Tennessee, Texas, U.S. Virgin
Islands or Virginia, who (a) timely applied for loans and/or
program payments with defendant at any time after January 1, 1983,
and was the subject of willful and continuous racial discrimina-
tion, and (b) timely filed a complaint or complaints with defendant
of these acts of discrimination, which complaint(s) was/were never
acted upon pursuant to the applicable law, causing the farmer(s)
substantial damages.

5}. Defendant, Dan Glickman, is Secretary of the United
States Department of Agriculture ("USDA"), and is the federal
official responsible for the administration of the statutes,

regulations and programs which are the focus of this action.

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HOW DEFENDANT IS ORGANIZED AND,
GENERALLY, THE GOVERNMENT PROGRAMS AT ISSUE

6. USDA's Farm Service Agency ("FSA") provides commodity
program benefits (such as deficiency payments, price support loans,
conservation reserve benefits), disaster payments, farm loans and
other farm credit benefits to U.S. farmers. The agency was created
in 1994, as a result of a reorganization of USDA, primarily by the
merger of the Agricultural Stabilization and Conservation Service
("ASCS", which previously had handled commodity program benefits,
price support loans, Conservation Reserve Program (“CRP”) payments,
disaster payments, and related services) with the Farmers Home
Administration ("FmHA", which previously had provided farm loans
and other farm credit benefits).

7. The FmHA was created decades ago to provide loans,
credit and technical assistance for farmers. FmHA made loans
directly to farmers or guaranteed the loans made to farmers by
private, commercial lenders. These loans included "farm
ownership", “operating”, and "continuing assistance" loans, as well
as loans that "restructure" existing loans and "emergency disaster"
loans.

8. ASCS was an agency of USDA created to provide services
to U.S. farmers under the price support, deficiency payment, CRP,

and related programs to stabilize farm income and prices, and to

assist in the conservation of land. It was consolidated into the
FSA in 1994.
9. Defendant is responsible for the administration of the

Farm Service Agency (FSA) and previously FmHA «& ASCS. FSA, like

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FmHA and ascs before it, administers the federal farm programs
through a three-tiered review system consisting of (1) county
offices and committees, (2) state offices and committees, and (3) a
federal level of review in Washington, D.C., the National Appeals
Division ("NAD"). The local county committees consist of producers
from a county who have been elected by other producers in that
county; they oversee the county offices. The state committees
consist of producers from each state selected by the Secretary of
USDA; they oversee the state offices. At the federal level, NAD
renders final determinations of administrative appeals. (Prior to
the 1994 consolidation, FmHA had its own administrative appeal
process.)

HOW FARMERS (1) APPLIED FOR LOANS AND CREDIT WITH FmHA
(2) APPLIED FOR PARTICIPATION IN OTHER FARM PROGRAMS WITH ASCS

10. Traditionally, when a farmer applied for any FmHA loan
or program, he went to his county office (formerly the FmHA
office), and filled out a Farm and Home Plan (FHP), which required
the assistance and guidance of defendant's officials to complete.
Assistance and guidance were critical because of the complexity of
the programs and forms. This application process was done pursuant
to regulations found at 7 C.F.R. 1910, et seq. If the farmer
needed an ASCS-type benefit or assistance, he worked with his
County Executive Director ("CED") and county committee in applying
for participation or benefits. The process was and is done
pursuant to ASCS regulations (7 C.F.R. Part 700, et seq.) and
Commodity Credit Corporation ("CCC") regulations (7 C.F.R. at 1400,

et seq.).

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11. When the FmHA loan application with its supporting
documents was completed it was presented to the county committee.
If approved, the loan was processed. The Equal Credit Opportunity
Act ("ECOA") prohibits discrimination in credit based on sex,
marital status, race, color, age, or national origin, religion,
etc. (15 U.S.C. §1691(a)). If an FmHA loan was denied on dis-
criminatory grounds, the farmer could file a complaint of dis-
crimination with the Secretary of USDA, the FmHA - Equal
Opportunity ("EO") office or with the Office of Civil Rights
Enforcement and Adjudication ("OCREA"), or both.

12. With respect to ASCS-type programs, the application was
reviewed by the CED and then presented to the county committee. If
approved, the ASCS benefits were awarded. Title VI of the Civil
Rights Act of 1964 prohibits exclusion of participation in federal
programs based on race, color or natural origin. With respect to
ASCS-type applications, if a farm program application was denied on
discriminatory grounds, the farmer could file a complaint of
discrimination with the Secretary of USDA or OCREA.

HOW PLAINTIFFS AND MEMBERS OF THE CLASS WERE DAMAGED -—
WHAT DEFENDANT DID IN RESPONSE TO COMPLAINTS OF DISCRIMINATION

13. Unbeknownst to plaintiffs and members of the Class,
defendant disbanded the enforcement ability of EO and OCREA in
1983, leaving defendant with no ability to investigate discrimina-
tion complaints. In a May 25, 1997, Richmond News Dispatch article
and interview of Lloyd Wright, Director of USDA Office of Civil

Rights, Mr. Wright stated that (1) no systematic probes or

investigations had been taken since 1983, when the Reagan adminis-

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tration disbanded the Civil Rights investigative staff, and (2)

that agency regulations and the provisions of the Civil Rights Act

of 1964, et al. were violated. Further evidence of defendant's

willful failure to investigate discrimination complaints is evident
in the February 27, 1997, Office of Inspector General Report ("OIG
Report"), and the February, 1997 Civil Rights Action Team Report
("CRAT Report"), both explained below.

14. The Department of Justice (DOJ) was required to ensure
that Federal agencies met their Title VI enforcement obligations
and provide civil rights protection to persons filing discrimina-

tion complaints in the FSA programs. DOJ failed to ensure that

defendant met its Title VI obligations.

15. Within USDA, The Policy Analysis and Coordination Center
(PACC), an agency under the Assistant Secretary for Administration,
was responsible for civil rights compliance and developing regula-
tions for processing program discrimination complaints at USDA.
[OIG Report, p. 4] OCREA was responsible for processing program
discrimination complaints received by USDA from participants in FSA
programs. [OIG Report, p. 4]

16. OCREA was required to forward written complaints from
FSA program participants of discrimination to the appropriate
agency within USDA asking the agency to attempt conciliation of the
complaint. If conciliation was not successful, the agency was to
be instructed to perform a preliminary inquiry and make a recommen-
dation of a finding of "discrimination" or "no discrimination".
OCREA was to perform its own analysis of the complaint and the
preliminary inquiry and make a recommendation to the Assistant

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Secretary for Administration on the finding of "discrimination" or

"no discrimination". This process never occurred during the
relevant period covered by this lawsuit. [OIG Report, p. 4]
17. FSA's Civil Rights and Small Business Staff (CR&SBUS)

was responsible for handling program discrimination complaints

within FSA. CR&SBUS never followed proper procedure pursuant to

the law during the relevant period covered by this lawsuit. [OIG

Report, p. 5]

18. The applicable State Civil Rights Coordinator in FSA was
responsible for obtaining a conciliation agreement or performing a
preliminary inquiry and forward it to CR&SBUS. If a conciliation
agreement was reached with the complainant, CR&SBUS was to forward
the agreement to OCREA and recommend the discrimination complaint
be closed. If a preliminary inquiry was performed, CR&SBUS would
analyze the information and determine if discrimination was found;

CR&SBUS was to forward the preliminary inquiry and its analysis to

OCREA with its determination. These procedures were never properly

followed.

19. USDA has codified regulations, 7 C.F.R., Part 15 -
"Nondiscrimination," which states USDA's policy of nondiscrimina-
tion in federally assisted and conducted programs in compliance

with Title VI of the Civil Rights Act of 1964. The regulations

should have served as a basis for civil rights compliance and

enforcement with respect to participants in FSA programs, however,

defendant admits the regulations have long been and still are

outdated and never reflected the departmental agencies, programs

and laws. (Emphasis supplied.) [OIG Report, p. 5]
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20. USDA Regulation 4330-1, which is over 12 years old,
dated June 27, 1986, set the departmental policy for program civil

rights compliance reviews, but does not provide policy and guidance

for processing program discrimination complaints. [OIG Report, p.

5]

21. On December 12, 1994, in a management alert to the then
Office of Civil Rights Enforcement, defendant's Office of Inspector
General (OIG) reported problems with how USDA received, processed,
and resolved program discrimination complaints. OIG recommended
that "a departmental regulation be promulgated that sets forth the
authorities of the Office of Civil Rights Enforcement and that
written procedures and controls be established governing the
receipt, processing, and resolution of program discrimination
complaints within established timeframes". [OIG Report, p. 5]

22. The regulation was never published.’

23. After years of abuse and benign neglect of African
American farmers, OIG finally undertook an investigation and
review, the results of which were released on February 27, 1997, of
defendant's program discrimination complaints within FSA as well as
10 other agencies within USDA. OIG found, inter alia, that the
discrimination complaint process within USDA lacked "integrity,"
and "accountability" was without a tracking system, was in
"disorder", did not resolve discrimination complaints, and had a

massive backlog:

IThe U.S. Commission on Civil Rights issued a report in June
1996, titled Federal Title VI Enforcement to Ensure Nondiscrimina-
tion in Federally Assisted Programs. This report also had specific
findings and recommendations critical of the USDA discrimination
complaints processing system.

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"The program discrimination complaint process at
FSA lacks integrity, direction and accountability. The
staff responsible for processing discrimination com-
plaints receives little guidance from management,
functions in the absence of any current position de-
scriptions or internal procedures, and is beset with its
own personnel EEO problems. The staff also processes
discrimination complaints without a reliable tracking
system to determine the status of the complaints and,
apparently, without deadlines to resolve the complaints.
The resulting climate of disorder has brought the
complaint system within FSA_to a near standstill.
Little gets accomplished to resolve discrimination
complaints or to make program managers aware of alleged
problems within their programs. After developing our
own data base of unresolved cases, we determined that as
of January 27, 1997, FSA had an outstanding backlog of
241 complaints." (Emphasis supplied) [OIG Report, p. 6]

24. OIG found that the staff responsible for processing the
discrimination complaints consisted of two untrained and unquali-
fied people:

"The FSA staff responsible for processing discrimi-
nation complaints, the Civil Rights and Small Business
Utilization Staff (CR&SBUS)" has two full-time program
specialists working to resolve program complaints.
These program specialists are supplemented by an admin-
istrative assistant who provides secretarial support and
two staff assistants who maintain case files and the
tracking system. The two program specialists and the
two staff assistants transferred to FSA from the civil
rights staff of the former Farmer's Home Administration
(FmHA) during the Department's reorganization in October
1995. The staff assistants have been performing
analyses of the preliminary inquiries conducted on_the
complaints, although they are not trained or otherwise
qualified to do so. None of the former FmHA employees
with CR&SBUS have position descriptions to reflect their
current duties and responsibilities, and none have
received performance appraisals for fiscal year 1996."
(Emphasis supplied) [OIG Report, p. 6]

25. OIG found a "massive backlog" of unprocessed FSA com-

plaints. [OIG Report, p. 6)

26. OIG found the FSA files "disorganized" and unaccount-

able:

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" _CR&SBUS was unable to provide us with an
accurate number of outstanding complaints or their
Status. We reviewed the case files and found them
generally disorganized. It was difficult for us to
readily determine the date of the complaint, the reason
it was brought, and the status of its resolution."
(Emphasis supplied) [OIG Report, p. 7]

27. OIG found hundreds of FSA cases unresolved:

"Our review at the CR&SBUS and CREA disclosed that,
between them, they had listed a total of 272 cases as
being active. The oldest case listed dates back to
1986. x a ts After resolving all duplications and
determining the actual status of the 272 cases, we found
that FSA had 241 cases of program discrimination
complaints that had not been resolved.” (Emphasis
supplied) [OIG Report, p. 7]

28. OIG found repeated unaccountability and missing files:

"During our reconciliation of the two agencies'
lists, we noted that some cases were listed by one or
the other agency but could not be found in its filing
system. CR&SBUS listed 32 cases that we could no find
in its filing system, and CREA listed 28 cases that we
could not find in its filing system. We also noted that
CR&SBUS listed cases unknown to CREA. CR&SBUS listed 19
cases that CREA did not list." [OIG Report, p. 7]

29. OIG found there was no reliable method to the process-
ing:

"CREA had officially closed 30 of the 272 cases
with findings of no discrimination. CREA had also
closed one case with a finding of discrimination, and
the complainant was compensated. The case involved the
FSA disaster program, and the complainant received the
benefits which were at first denied by FSA. Four of the
remaining 24 cases had findings of discrimination as
determined by CREA and are pending resolution. One of
the four complainants has not responded to_ the
Department's written notice regarding filing a claim for

compensation. Office of Operations officials are
negotiating a settlement with the remaining three
complainants." [OIG Report, pp. 7-8]

30. OIG found improperly closed files and improper reviews,
and many files with no documentation:
"We found that FSA improperly closed and forwarded

30 complaints to program managers, without notifying the
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Department (26 of 30 cases were closed under the old
FmHA agency management). The civil rights staff
concluded without first receiving concurrence from the
Department that these cases were the result of "pro-
grammatic discrepancies" (i.e., agency error rather than
civil rights violations). Without departmental
concurrence with its findings, the agency may not have
addressed the legitimate cases of discrimination. CREA
has the responsibility to make final determination of
program discrimination. FSA may recommend to CREA that
cases be closed, but it does not have the authority to
close these cases without concurrence from CREA. For
example, we noted that in one instance FSA (the former
FmHA) incorrectly concluded that a case had only pro-
grammatic concerns and closed the case without forward-
ing it to the Department. Only after a civil rights
staff member complained, did FSA process the case as a
civil rights discrimination case. The civil rights
staff stated in a letter that the allegation of racial
discrimination was overlooked. The mix-up was discussed
with the Department, which determined that the case
should be processed by the civil rights staff. For most
of the remaining cases, we found no documentation in the
case files at FSA that the Department has reviewed these
cases." (Emphasis supplied) [OIG Report, p. 8]

31. OIG found 58% of the FSA civil rights complaint case
files were over 1 year old and over 150 cases were almost two years

old:

"  . . the average age of the 241 cases we consider
open because they were not officially closed by the

Department.
No. of Cases Program Average Age
151 Ag. Credit
(Farm Loans) 703 Days
40 Disaster 485 Days
50 Others 482 Days

Of the 241 open cases, 139 (58 percent) were known to be
over 1 year old. Of the 241 cases, 129 (54 percent) are
awaiting action in FSA; the remaining 112 cases (46
percent) are in the hands of the CREA staff in USDA's
Office of Operations. Sixty-five of the cases at FSA (50
percent) need a preliminary inquiry. Some of these date
back to 1993." [OIG Report, p. 8]

32. OIG found no system within FSA for reconciliation or
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tracking of civil rights complaint cases:

"CR&SBUS has no procedures in place to reconcile or
track the status of complaints after they are forwarded
to CREA. Therefore, CR&SBUS could not tell us_the
status of complaints at _ CREA. As noted above, both
CR&SBUS and CREA had different numbers and were not
aware of all the outstanding complaints." (Emphasis
supplied) [OIG Report, p. 8]

33. OIG found no management oversight within FSA with
respect to the handling of civil rights complaints:

"CR&SBUS also does not prepare management reports
to inform FSA program managers of alleged problems of
discrimination within their programs. Without this
information, program managers may not be aware of
potential discrimination in the programs they are
responsible for administering." [OIG Report, p. 9]

34. With respect to defendant's Office of Operations, Civil
Rights Enforcement and Adjudication (CREA), OIG found repeated

inaccuracies and unaccountability:

"  ..that the listing of outstanding cases provided
by CREA contained inaccurate information. In some
instances we were unable to locate the case files at
CREA that were on its outstanding case list. Without
reviewing the case files, we were unable to verify the
status of the complaints. Also, CREA and FSA had not
reconciled their cases, and neither could inform us of
the correct number of outstanding cases."

"CREA does not have controls in place to monitor
and track discrimination complaints. When complaints
are received they are logged in, given a case number,
and after the agency forwards the preliminary inquiry to
CREA, the case is assigned to one of its seven program
specialists. There are no procedures to require the
program specialists to follow up on overdue responses
from the agency. We have found that CREA is not follow-
ing up on discrimination cases it returned to FSA for
conciliation or performance of a preliminary inquiry.
CREA advises the agency that it has 90 days to complete
its review, but it does not follow up with the agency to
determine the status of the complaint." [OIG Report,

p.9]

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35. OIG surveyed 10 other USDA program agencies in addition
to FSA, to determine the procedures used for processing program

discrimination complaints and found the same problems. [OIG Report,

pp. 10-11]

36. OIG compiled a list of outstanding ("open") program
discrimination complaints, as late as 1996, within the Department,
totaling 271. [OIG Report, at Attachment Al]

37. At the same time that OIG released its report, a USDA
Civil Rights Action Team released a report, dated February, 1997,
condemning defendant's lack of civil rights enforcement and

accountability which, inter alia, was a cause of the drastic

decline in the number of African American farmers. (The Report is
hereinafter referred to as "CRAT"):

"According to the most recent Census of Agricul-
ture, the number of all minority farms has fallen --
from 950,000 in 1920 to around 60,000 in 1992. For
African Americans, the number fell from 925,000, 14
percent of all farms in 1920 to only 18,000, 1 percent
of all farms in 1992." [CRAT, p. 14]

38. CRAT found a common problem involved minority farmers
applying to defendant for loans:

"The minority or limited-resource farmer tries to
apply for a farm operating loan through the FSA county

office well in advance of planting season. The FSA
county office might claim to have no applications
available and ask the farmer to return later. Upon

returning, the farmer might receive an application
without any assistance in completing it, then be asked
repeatedly to correct mistakes or complete oversight in
the loan application. Often those requests for correct-
ing the application could be stretched for months, since
they would come only if the minority farmer contacted
the office to check on the loan processing. By the time
processing is completed, even when the loan is approved,
planting season has already passed and the farmer either
has not been able to plant at all, or has obtained
limited credit on the strength of an expected FSA loan
to plant a small crop, usually without the fertilizer
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and other supplies necessary for the best yields. The
farmer's profit is then reduced." (Emphasis supplied)
[CRAT, p. 15]

39, CRAT found systematic mistreatment of minority farmers:

"If the farmer's promised FSA loan finally does
arrive, it may have been arbitrarily reduced, leaving
the farmer without enough money to repay suppliers and

any Mortgage or equipment debts. In some cases, the FSA
loan never arrives, again leaving the farmer without
means to repay debts. Further operating and disaster

loans may be denied because of the farmer's debt load,
making it impossible for the farmer to earn any money
from the farm. As an alternative, the local FSA
official might offer the farmer an opportunity to lease
back the land with an option to buy it back later. The
appraised value of the land is set very high, presumably
to support the needed operating loans, but also making
repurchase of the land beyond the limited-resource
farmer's means. The land is lost finally and sold at
auction, where it is bought by someone else at half the
price being asked of the minority farmer. Often it is
alleged that the person was a friend or relative of one
of the FSA county officials." (Emphasis supplied)
[CRAT, p. 16]

40. CRAT found insufficient oversight of farm credit to

minorities:

"Currently, the Farm and Foreign Agricultural
Services (FFAS) Mission Area, which manages the FSA
program delivery system, provides ineffective oversight
of the local delivery of farm credit services." (Empha-
sis supplied) [CRAT, p. 16]

41. CRAT found a lack of diversity in FSA program delivery

structure:

"Because of the ways in which State and county
committees are chosen and county offices are staffed,
FSA lacks diversity in its program delivery structure.
Federal EEO and Affirmative Employment laws and policies
do not govern the FSA non-Federal workforce except by
agency regulation." (Emphasis supplied) [CRAT, p. 18]

42. CRAT found a lack of minority employees in FSA county

offices:

"® recent GAO study indicated that in the 101
counties with the largest concentration of minority
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farmers, one-quarter had no minority employees in their
offices." [CRAT, p. 18]

43.  CRAT found lower participation rates and lower approval

rates for minorities in FSA programs:

"Recent studies requested by Congress and FSA have
found lower participation and lower loan approval rates
for minorities in most FSA programs. Participation
rates in 1994 in programs of the former Agricultural
Stabilization and Conservation Service (ASCS), particu-
larly commodity programs and disaster programs, were
disproportionately low for all minorities. The GAO
found that between October 1, 1994 and March 31, 1996,
33 percent of minority applications but only 27 percent
of non-minority applications in the Agricultural Con-
servation Program (ACP) were disapproved. During the
same period, 16 percent of minority but only 10 percent
of non-minority loans in the direct loan program were
disapproved." (Emphasis supplied) [CRAT, p. 21]

44. For some states, the approval rates for farm loans were

widely disparate:

"For example, only 67 percent of African-American
loans were approved in Louisiana, compared to 83 percent
of mnon-minority loans. Alabama showed a _ similar
disparity -- only 78 percent of African-American loans
approved, compared to 90 percent of non-minority loans."
[CRAT, p. 21]

45. CRAT found minorities endured longer loan processing

times:

"Again, however, some States showed consistently
longer processing times for minorities. In the South-
east, for example, in several States in took three times
as long on average to process African-American loan
applications as it did non-minority applications.
Similar disparities between non-minority loan processing
and American Indian loan processing appeared in records
for a number of States included in FSA's Northwest

region." [CRAT, p. 21]

46. CRAT found discrimination complaints at USDA were often

ignored:

"rarmers who told the CRAT stories of discrimina-
tion and abuse by USDA agencies also described a com-
plaints processing system which, if anything, often

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makes matters worse. They described a bureaucratic
nightmare where, even after they receive a finding of
discrimination, USDA refuses to pay damages. They

charged USDA with forcing them into court to seek
justice, rather than working with them to redress
acknowledged grievances. They painfully described the
toll these ongoing battles with USDA has taken on their
families, and on their health." [CRAT, pp. 22-23)

47. CRAT found decisions favoring farmers routinely not
enforced by USDA:

"Nowever, many farmers, especially small farmers,
who have managed to appeal their cases to FSA charge
that even when decisions are overturned, local offices
often do not honor the decision. They claim that
decisions favoring farmers are simply "not enforced"."
[CRAT, p. 23]

48. CRAT found a lack of USDA regulations for discrimination
complaint processing:

"Program discrimination complaints generally fall
within two categories: (1) programs conducted directly
by a USDA agency, such as USDA loan programs, and (2)
federal assisted programs, where USDA does not directly
offer services to customers, but recipients of USDA
funds do. The recipients must obey civil rights laws,
and USDA can be sued under such laws as Title VI, the
Rehabilitation Act, IX, the Equal Credit Opportunity
Act, and others. CRAT members were informed by OGC that
USDA presently has no published regulations with clear
guidance on the process or time lines involved in
program discrimination complaints. When a farmer does
allege discrimination, "preliminary investigations" are
typically conducted by the agency that has been charged
with violating her or his right." [CRAT, p. 24]

49, CRAT found discrimination complaints often are not
responded to by USDA:

"| . USDA doesn't respond even when they do file

complaints. In Tulsa, OK. an advocate representing
black and American Indian farmers said, "we have filed
72 civil rights complaints. Not one complaint has even

been answered." [CRAT, p. 24]
50. CRAT found recordkeeping on discrimination complaints
"non-existent" and that a backlog existed:

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"The CRAT was unable to gather historical data on
program discrimination complaints at USDA because record
keeping on these matters has been virtually nonexistent.

Complaints filed with the agencies are not necessarily
reported to USDA's Civil Rights office. Some figures
are available however, for cases that were open as of
December 31, 1996. The largest number of pending
discrimination complaints, as comments at the listening
sessions suggests, are concentrated in three agencies at
USDA. There were 205 case pending, representing 42
percent of the total, against the FSS: 165, or 33.3
percent against the Rural Housing Service (RHS): and 62,
or 12.5 percent against the Food and Consumer Services.

Sixty three cases, or 12.7 percent of the total, were
pending against other agencies. The Department had a
total of 495 pending program discrimination complaints.

Approximately one-half of the pending cases are 2 years
old or older, verifying farmers contention that com-
plaints are being processed slowly, if at all.
According to the Complaints Processing Division at the
Office of Operation (00), which processes complaints
that make it to the Department level. USDA averages
about 200 new program discrimination complaints each
year. However, in fiscal year 1996, an average of only
9 cases were closed per month, or 108 during the year --
increasing a backlog of program complaints." (Emphasis
supplied.) [CRAT, pp. 24-25]

51.  CRAT uncovered neglect of and bias against minorities by
USDA, resulting in a loss of farmers' land and income.

"The recent Civil Rights listening-sessions re-
vealed a general perception of apathy, neglect, and a
negative bias towards all minorities on the part of most
local USDA government officials directly involved in
decision making for program delivery. A reporter at the
recent listening session in Tulsa, OK. observed that
minority farmers are not sure which condition "was worse
-- being ignored by the USDA and missing potential
opportunities or getting involved with its programs and
facing a litany of abuses. Minority farmers have lost
significant amounts of land and potential farm income as
a result of discrimination of FSA programs and the
programs of its predecessor agencies, ASCS and FmHA.
Socially disadvantaged and minority farmers said USDA is
part of a conspiracy to take their land and look to USDA
for some kind of compensation for their loses." [CRAT,
p. 30]

52. CRAT found USDA the fifth worst (of 56 government
agencies) in hiring minorities:

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"According to the US Department of Labor, between
1990 and 2000, women, minorities, and immigrants will
account for 80 percent of the United States labor force
growth. The "Framework for Change: Work Force Diversity
and Delivery of Programs," a USDA report released in
1990, found that USDA had a need to remedy under-repre-
sentation in its workforce by providing equal employment
and promotion opportunities for all employees. When
this statement was made, USDA ranked 52 out of 56
Federal agencies in the employment of minorities, women,
and individuals with disabilities." [CRAT, p. 33]

53.  CRAT found the lack of diversity at USDA adversely
affects program delivery to minorities:

"USDA's workforce does not reflect the diversity of
it customer base. The lack of diversity in field
offices adversely affects program delivery to minority
and women customers of USDA." [CRAT, p. 45]

54. CRAT found a lack of resources at USDA to ensure fair
and equitable (non-discriminatory) program delivery to farmers:

"The Assistant Secretary for Administration is
USDA's senior official responsible for civil rights.
Although that position has the responsibility for civil
rights policy and compliances, it does not have the
authority or resources necessary to ensure that programs
are delivered and employees are treated fairly and
equitably." [CRAT, p. 46]

55. CRAT found enforcement of civil rights at USDA in
program delivery lacking:

"Another problem with enforcing civil rights in
program delivery is fragmentation. Agency civil rights
directors have a number of responsibilities. For
example, USDA agencies each perform some complaint
processing functions. However, the Commission noted that
the respective roles of OCRE and the agencies were not
clearly defined. The Commission also found that OCRE
was providing technical assistance to agencies on civil
rights statutes, not proactively, but only when request-—
ed."  [CRAT, p. 51]

56. CRAT found a lack of civil rights specialists and

knowledge for program-related civil rights issues at USDA:

"The Civil Rights Commission's report on the lack
of Title VI enforcement also pointed to USDA's lack of
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civil rights specialists in program-related civil rights
issues. Many of the Department's civil rights resources
are devoted to processing of employment discrimination

complaints. Of the current staff in the Department's
two civil rights offices, two-thirds work on EEO
complaints. That means only a small percentage of
USDA's civil rights staff works on civil rights issues
relating to program delivery. According to the

Commission, the 1994 civil rights reorganization was
deficient because OCRE did not separate internal and
external civil rights issues into separate offices. The
Commission predicted that "a probable consequence is
that USDA's Title VI enforcement program may suffer as
OCRE responds to pressures to improve USDA's internal
civil rights program." It recommended that USDA
establish "two separate units, with different supervi-
sory staff," one for internal and one for external civil
rights issues." [CRAT, p. 54]

57.  CRAT found defendant's counsel hostile to civil rights,
if not racist:

"The perception that the Office of the General
Counsel [at USDA] is hostile to civil rights has been
discussed earlier in this report. OGC's legal positions
on civil right issues are perceived as insensitive at
the least, and racist at worst. Correcting this problem
is critical to the success of USDA's civil rights
program." [CRAT, p. 55]

58. CRAT found defendant's counsel often have no civil
rights experience or education:

"However, the CRAT has found that attorneys who
practice civil rights law at [USDA's] OGC are not
required to have specialized experience or education in
Civil rights when they are hired. They acquire their
civil rights experience on the job. In addition, most
of OGC's lawyers working on civil rights issues work on
non-civil-rights issues as well."  [CRAT, p. 55]

59. In sum, CRAT concluded that defendant does not support
or enforce civil rights:

"USDA does not have the structure in place to
support an effective civil rights program. The Assis-
tant Secretary for Administration lacks authority and
resources essential to ensure accountability among
senior management ranks. There has been instability and
lack of skilled leadership at the position of USDA
Director of Civil Rights. Dividing up the Department's

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Civil Rights office between policy and complaints has
further exacerbated the problem. The division of
responsibility for civil rights among different USDA
offices and agencies has left confusion over enforcement
responsibilities. Finally, OoGC is perceived as

unsupportive of civil rights." [CRAT, p. 56]

60. On September 29, 1997, USDA's Office of Inspector
General issued Phase II of the OIG Report on Civil Rights Issues,
entitled "Minority Participation In Farm Service Agency's Farm Loan
Programs - Phase II" (hereinafter "OIG Report Phase II") which
found, inter alia that (a) defendant has resolved only 32 of the
241 outstanding discrimination complaints reported in the OIG
Report (back in February, 1997) and (b) that the backlog of
discrimination complaints had increased from 241 to 474 for FSA and
from 530 to 984 for all of USDA.

61. In sum, defendant's willful disregard of, and failure to
properly investigate, African-American discrimination complaints
began with the disbanding of civil rights enforcement functions
back in 1983, continued until February, 1997, when the current
administration reorganized and reestablished the enforcement staff
of the civil rights office. As demonstrated by the massive in-
crease of backlogged, unresolved cases, since February, 1997, the

processing of discrimination complaints has gotten worse. In fact,

using the time bar of statute of limitations, defendant’s civil

rights office has denied black farmers, including all plaintiffs in

this lawsuit, an administrative review of their cases on the merits

(See Exhibits A and B, attached hereto).

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CLASS ACTION ALLEGATIONS

62. Plaintiffs bring this Class action on behalf of them-
selves and all others similarly situated for the purpose of
asserting the Claims alleged in this Complaint on a common basis.
Plaintiffs' proposed Class is defined as all African-American
participants in FSA's farm programs who filed a written complaint
of racial discrimination with Defendant at any time between
February 21, 1997, and the filing date of this lawsuit, for relief
from acts of racial discrimination visited on them, as they tried
to participate in such farm programs and who, because of the
failings in the USDA civil rights complaint processing system
described above, were denied equal protection under the laws of the
United States and deprived of due process in the handling of their
discrimination complaints.

63. Since February 21, 1997, plaintiffs and members of the
Class filed not less than 500 discrimination complaints.
Plaintiffs base this number, upon the following:

(a) There are 129 named Plaintiffs, each of whom has
signed a statement that he filed a discrimination complaint;

(b) On December 8, 1997, Defendant acknowledged that
390 black farmers had filed administrative discrimination
complaints in 1997 alone, each involving discrimination occurring
prior to 1997; and

(c) accordingly, the estimate of 500 is reasonable.

64. This action is brought and may properly be maintained as
a Class action pursuant to the provisions of Federal Rules of Civil
Procedure 23(a) (1)-(4) and, as appropriate, 23(b) (1), (b) (2) and/or

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(b) (3). This action satisfies the mnumerosity, commonality,
typicality, adequacy, predominance and superiority requirement of
those provisions.

65. Numerosity of the Class. Fed. R. Civ. P. 23(a) (1). The

Class is so numerous that the individual joinder of all its members

is impracticable. FSA has approximately 2,750 county offices
throughout the United States. They process applications for
approximately 1,400,000 farmers. Plaintiffs believe, from its

research, travel to county offices throughout the south, interviews
with over 300 farmers, and review of defendant's reports, that
during the period February 21, 1997, to the filing date of this
lawsuit, USDA received 500 discrimination complaints; accordingly,
plaintiffs are informed and believe, and on that basis allege, that
the Class includes 500 members. Class members may be informed of
the pendency of this Class action by published and broadcast
notice; in addition, defendant has each Class member's farm number,
address, application date and payment results on computer, and thus
readily available.

66. Existence and Predominance of Common Questions Of Law

and Fact. Fed. R. Civ. P. 23(a) and 23(b) (3). Common questions of

law and fact exist as to all members of the Class and predominate
over any questions affecting only individual members of the Class.
These common legal and factual questions arise from one central
issue, which does not vary from Class member to Class member and
which may be determined without reference to the individual circum-
stances of any particular Class member: defendant's institutional
and systematic course of conduct in denying civil rights complain-

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ants due process of law in the handling of their complaints. These
common legal and factual questions include, but are not limited to,
the following:

a) Whether and when defendant's officials discrimi-
nated against plaintiffs and Class members in failing to process
discrimination complaints;

b) Whether and when defendant's officials discrimi-
nated against plaintiffs and Class members in granting credit and
providing other program benefits;

c) Whether defendant's officials failed to provide
plaintiffs and Class members equal opportunity to credit or other
program benefits;

d) Whether defendant's institutional and systematic
failure to provide plaintiffs and Class members equal opportunity
for and access to credit or other program benefits was arbitrary,
capricious, an abuse of discretion, and/or in excess of statutory
jurisdiction;

e) Whether defendant's institutional and systematic
refusal and denial of plaintiffs' and Class members' rights
constitutes a violation of the Civil Rights Act, Title VI, and due
process under the Fifth Amendment To The Constitution;

£) Whether defendant's actions violated plaintiffs'
and Class members' statutory rights and access to due process of
law pursuant to the Equal Credit Opportunity Act;

g) Whether plaintiffs and Class members are entitled
to (1) a declaration of their eligibility to receive damages or
other monetary relief, (2) costs, (3) attorneys fees and (4)

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interest from the date they should have been paid to the actual
date of payment;
h) How any and all payments plaintiffs are declared
eligible to receive should be equitably allocated among the Class.
These questions of law as to each Class member arose at the
same time following the release of the OIG Report and CRAT, in
February, 1997, exposing for the first time, the institutional and
systematic failure of the discrimination complaint process at USDA.

67. Typicality of Claims. Fed. R. Civ. P. 23(a) (3).

Plaintiffs' claims are typical of the claims of the members of
the Class, all of whom have been denied equal access to credit or
other program benefits and due process in the enforcement of their
discrimination complaints, who have been subject to defendant's
institutional and systematic failure to enforce the civil rights
law intended to benefit plaintiffs and members of the Class, due to
defendant's arbitrary and unlawful actions.

68. Adequacy of Representation. Fed. R. Civ. P. 23(a) (4).

Plaintiffs are adequate representatives of the Class because
they are members of the Class and their interests do not conflict
with the interests of the members of the Class they seek to
represent. They have retained competent counsel experienced in the
prosecution of complex agricultural disputes involving review of
adverse agency action, experienced in civil rights litigation, and
experienced in class action litigation, and they intend to
prosecute this action vigorously for the benefit of the Class. Mr.
Pires, after 7 years at the U.S. Department of Justice, has spent
15 years in private practice representing farmers; he has been lead

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counsel in over 50 lawsuits filed on behalf of farmers in federal
courts throughout the country. Mr. Fraas has been in private
practice representing farmers for 8 years, before that he was Chief
Counsel of the House Agriculture Committee, responsible for all
USDA programs and laws. Mr. Pires and Mr. Fraas are lead counsel.
Joining them as of-counsel, are Dennis C. Sweet, III, and T. Roe
Frazer of Langston, Frazer, Sweet & Freese, experienced class
action attorneys with extensive experience in discrimination law;
J. L. Chestnut of Chestnut, Sanders, Sanders & Pettaway, a4
nationally known civil rights lawyer, with 38 years of experience
in discrimination law and class action litigation; Othello C. Cross
of Cross, Kearney & McKissic, an experienced lawyer in the fields
of civil rights and agriculture; Hubbard T. Saunders, IV, of
Crosthwait Terney, an experienced lawyer in the field of
discrimination law; and Gerard R. Lear of Speiser Krause, an
internationally known lawyer with extensive experience in complex
litigation and class actions. The interests of the members of the
Class will be fairly and adequately protected by plaintiffs and
their lead counsel and of-counsel. Counsel for plaintiffs have
signed retainer agreements with plaintiffs stating that in the
event of a successful settlement or judgment (1) 100% of all monies
received will go to plaintiffs and Class members; (2) under the
Equal Credit Opportunity Act and the Equal Access To Justice Act,
counsel will seek recovery of legal fees, expenses and costs not
from the farmers but from defendant.

69. Superiority. Fed. R. Civ. P. 23(b) (3). A Class action

is superior to other available methods for the fair and efficient

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adjudication of this litigation since individual litigation of
Class members' claims regarding the defendant's institutional and
systematic deprivation of their civil rights as described in this
Complaint is impracticable. Even if any Class members could afford
individual litigation, the court system could not. It would be
unduly burdensome to the courts in which individual litigation of
the facts of not less than 500 cases would proceed. Individual
litigation further presents a potential for inconsistent or
contradictory judgments and increases the delay and expenses to all
parties and the court system in resolving the legal and factual
issues of the case. By contrast, the Class action device presents
far fewer management difficulties and provides the benefits of
single adjudication of what essentially is one problem, economies
of scale, and comprehensive supervision by a single court. Notice
of the pendency of any resolution of this Class action can be
provided to Class members by publication and broadcast; in
addition, defendant has each Class member's farm number, address,
application date and payment results on computer, readily avail-
able.

70. The various claims asserted in this action are addition-
ally or alternatively certifiable under the provisions of Federal
Rules of Civil Procedure 23(b) (1) and/or 23(b) (2) because:

a) The prosecution of separate actions by the individ-
ual members of the Class would create a risk of inconsistent or
varying adjudications with respect to individual Class members,

thus establishing incompatible standards of conduct for defendant

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b) The prosecution of separate actions by individual
Class members would create a risk of adjudications that would, as a
practical matter, be dispositive of the interests of the other
Class members not parties to such adjudications or would substan-
tially impair or impede the ability of such non-party Class members
to protect their interests; and

c) Defendant has acted on grounds generally applicable
to the Class, thereby making appropriate final declaratory relief
with respect to the Class as a whole.

FACTUAL ALLEGATIONS

71. With respect to plaintiff Cecil C. Brewington:

On a number of occasions beginning in 1982 and extending
through 1991, Cecil Brewington applied for farm ownership loans
(FOs) from FmHA and was turned down repeatedly by the local FmHA
office director in Pender County, North Carolina. The repeated
denial of his loan applications was due to racial discrimination.

The racial discrimination against Mr. Brewington is
evidenced by a) the repeated denial of his FO loan applications,
b) the lack of assistance provided Mr. Brewington by the local
FmHA office staff in the preparation of his FO applications, c)
the fact that Mr. Brewington used data from North Carolina State
University (NCSU), the Land Grant University in North Carolina,
to prepare his FO applications, which were subsequently always
denied, d) that on at least one occasion, a professor from NCSU
reviewed Mr. Brewington’s FO application and found it to met all
requirements, and e) the fact that despite repeated calls to
Washington, D. C. to the White House and USDA, and to his

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Congressman, and being one of the Black Farmers at the House
Judiciary Sub-Committee on Civil and Constitutional Rights, Sept.
26, 1984, Mr. Brewington’s complaints of racial discrimination
were never addressed by USDA/FmHA.

Although Mr. Brewington’s FO applications were usually
turned down by the FmHA staff for reasons of “lack of cash flow”,
on at least one occasion the local FmHA did formally review his
application and it was rejected for lack of evidence that he (Mr.
Brewington) possessed “the experience and/or training needed to
succeed in farming,..” This despite the fact that Mr. Brewington
had grown up on a farm in the community and the Brewington family
had been in farming as long as anyone could remember. When
letters of recommendation were provided as evidence of the
required experience, Mr. Brewington’s application was still
denied.

As a result of these discriminatory actions by USDA/FmHA,
Mr. Brewington has suffered frustration, humiliation, anxiety,
and other symptoms of mental distress because of his inability to
obtain redress from USDA for the discriminatory actions taken
against him. Additionally, members of his family have been
subjected to emotional-stress because of USDA/FmHA’s refusal to
adequately and in a timely manner service Mr. Brewington’s FO
loan requests when similar requests from Mr. Brewington’s white
high school class mates were favorable received and the loans
provided.

For these racially discriminatory actions against Mr.
Brewington and his family, Mr. Brewington has suffered the loss

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of the opportunity to engage in farming, his preferred vocation,
loss of income, loss of happiness and wellbeing, and endured the
pain and suffering that results from racial discrimination.

72. With respect to all of the plaintiffs each and every
plaintiff was denied a loan or program benefit by defendant, or was
granted a loan or program benefit on terms different than that of
white farmers; said plaintiff filed a written complaint of racial
discrimination; said discrimination complaint was never resolved
pursuant to the law; and all of these events occurred during the
period 1983-1998.

73. The foregoing allegations are typical as to all Class
Members. Plaintiffs, for the members, and members of the Class

will present a prima facie case of discrimination showing

(1) defendant's awarding of credit and farm program participation
to whites was a pattern different than for plaintiffs and all Class
members and (2) a willful failure of defendant to properly
investigate the discrimination complaints of plaintiffs and members
of the Class.

COUNT I
(Declaratory Judgment)

74. Plaintiffs, on behalf of themselves and all others
similarly situated, reallege all paragraphs above as if fully set
forth herein.

75. An actual controversy exists between plaintiffs and
Class members and defendant as to their rights with respect to

defendant’s farm programs.

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76. Plaintiffs and the Class pray that this Court declare
and determine, pursuant to 28 U.S.c. 2201, the rights of plaintiffs
and Class members under defendant's farm programs including their
right to equal credit, participation in farm programs, and their
right to full and timely enforcement of racial discrimination
complaints.

COUNT II
(Agency Action That Is Arbitrary
Capricious, An Abuse Of Discretion, Not In Accordance
With Law, And In Excess of Statutory Jurisdiction)

77. Plaintiffs, on behalf of themselves and all others
similarly situated, reallege all paragraphs above as if fully set
forth herein.

78. Defendant's acts of denying plaintiffs and Class members
credit or other benefits and systematically failing to properly
process their discrimination complaints was racially discriminatory
and not authorized nor justified by any statute, regulation, or
reasonable interpretation of program procedures, and thus consti-
tutes arbitrary, capricious and unlawful action.

79. Plaintiffs and the Class pray defendant's actions be
reversed as arbitrary, capricious, an abuse of discretion, and not
in accordance with law, pursuant to 5 U.S.C. 706(2) (A), and in
excess of defendant's statutory jurisdiction, pursuant to 5 U.S.C.

706(2) (C), and in violation of the Fifth Amendment of the Constitu-

tion.

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COUNT ITI
(Violation of Equal Credit Opportunity Act/
Administrative Procedures Act)

80. Plaintiffs, on behalf of themselves and all others
similarly situated, reallege all paragraphs above as if fully set
forth herein.

81. Defendant's acts of denying plaintiffs and Class members
credit and other benefits and systematically failing to properly
process their discrimination complaints was racially discriminatory
and contrary to the requirements of such Act.

82. Plaintiffs and the Class pray defendant's actions be
reversed as arbitrary, capricious, an abuse of discretion, contrary
to 15 U.S.C. 1691(a) and not in accordance with law, pursuant to 5
U.S.C. 706(2) (A), and in excess of defendant's statutory jurisdic-
tion, pursuant to 5 U.S.C. 706(2) (C).

83. Plaintiffs pray for money damages for plaintiffs and
Class members of $500,000,000.

COUNT IV

(Violation of Title VI of the Civil Rights Act of 1964 and

the Fifth Amendment to the Constitution)

84. Plaintiffs, on behalf of themselves and all others
similarly situated, reallege all paragraphs above as if fully set
forth herein.

85. Defendant's acts constitute a violation of Title VI of
the Civil Rights Act of 1964, 42 U.S.C. 2000d and the Fifth
Amendment to the Constitution.

86. As a direct and proximate result of defendant's acts,
plaintiffs and the Class members sustained damages, including

payments rightfully due plaintiffs and the Class members.

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87. Defendants pray for appropriate relief under’ the
Administrative Procedures Act, including (1) compensation to
plaintiffs and Class members for there having been no proper
investigation of their complaints, and (2) specific performance of
their program benefits.

WHEREFORE, plaintiffs, on behalf of themselves and all others
similarly situated, request this Court enter judgment against
defendant as follows:

(1) An Order certifying the Class, and any appropriate
subclass thereof, under the appropriate provisions of Fed. R. Civ.
P. 23, and appointing plaintiffs and their counsel to represent the
Class;

(2) An Order declaring, pursuant to 28 U.S.C. §2201, that
plaintiffs and the Class members were denied equal credit and other
farm program benefits and full and timely enforcement of their
civil rights discrimination complaints.

(3) An Order declaring defendant's actions arbitrary,
capricious, an abuse of discretion, not in accordance with the law,
and in excess of defendant's statutory authority and jurisdiction;

(4) An Order declaring defendant's actions to be a breach of
plaintiffs' rights under the Equal Credit Opportunity Act and the
Administrative Procedures Act and declare plaintiffs and the Class
members' eligible to receive monetary and other relief of not less
than $500,000,000.

(5) An Order declaring defendant's actions to be a breach of
plaintiffs' rights under the Civil Rights Act of 1964 and the Fifth
Amendment for the Constitution and declare plaintiffs and Class

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members eligible to receive monetary and other relief of not less
than $500,000,000.

(6) An Order declaring defendant estopped from contending,
as a defense to relief to some Class members, that said Class
members failed to exhaust their administrative remedies or that a
statute of limitations precludes recovery.

(7) An Order granting plaintiffs' and the Class members'
attorneys' fees and expenses pursuant to the Equal Credit Opportu-
nity Act, and the Equal Access to Justice Act, costs of suit, and
interest from date when plaintiffs and the Class members should
have been paid to actual date of payment, and all other relief that
the Court determines proper and fair.
Of Counsel: R

T. Roe Frazer
LANGSTON, FRAZER, SWEET & FREESE
201 N. President Street #285003 J. Pires, Jr.—>
#1
CO

Jackson, Mississippi 39201 5009 |
(601) 969-1356 ON, FRANTZ, PHELAN & PIRES
1818 N Street, N.W., Suite 700
J. L. Chestnut Washington, D.C. 20036
CHESTNUT, SANDERS, SANDERS & PETTAWAY (2 331-7,058~
(4 kp

1405 Jeff Davis Avenue J \ Nhe
Selma, Alabama 36701 UK A ¥ ee

(334) 875-9264 Phillip L. Fraas #211219
1025 Thomas Jefferson St., N.W.
Othello C. Cross Washington, D.C. 20007
CROSS, KEARNEY & MCKISSIC (202) 342-1300
100 South Pine Street
P.O. Box 6606 Lead Counsel
Pine Bluff, AR 71611
(870) 536-4056 July 7, 1998

Hubbard T. Saunders, IV
CROSTHWAIT TERNEY

401 East Capitol Street
200 Heritage Building
Jackson, MS 39201-2607

Gerard R. Lear
SPEISER KRAUSE

2300 Clarendon Blvd.
Suite 306

Arlington, VA 22201

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US OFFICE PRODUCTS

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Case 1:98-cv-01693-PLF Document1 Filed 07/07/98 Page 52 of 80
United States
Department of
Agriculture

Office of the
Assistant Secretary
for Administration

Office of
Civil Rights

1400 independence
Avenue SW

Washington, DC
20250

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Filed 07/07/98

Document 1 Page 53 of 80

USDA
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FEB 11 1963

Via facsimile transmission
(601-968-3866) and first class mail

FEB
S. Malcolm O. Harrison, Esq. °
LANGSTON FRAZER SWEET & FREESE, P.A.
201 North President Street
Jackson, MS 39201
RE: USDA Program Discrimination Complaints

Lodged November 12, 1997 - January 22, 1998

Dear Mr. Harrison:

I am acknowledging receipt of your letters, with attached complaint forms that
your clients have lodged, bearing the following dates: November 12, 13, 18, 26, 1997;
December 5, 8, 10, 17, 19, 23, 30, 1997; January 2, 8, 14 and 22, 1998.

I am missing one attachment -- the complaint form for John M. Bonner (I have
John W. Bonner only). A replacement copy is requested from your office.

As you probably know, complaints should be filed within 180 days of the date of
the discriminatory act under the federally-assisted programs (7 C.F.R. 15.6) or, under
federally-conducted programs, from the date the individual knew or should have known
of the alleged discrimination (7 C.F.R. 15.5 1). Under both provisions, USDA may
extend the deadline for good cause shown. Under both provisions, however, there must
be some discrete, allegedly discriminatory act that occurred within the complaint filing
period.

I have enclosed charts showing the dates of discrimination each of your clients
cited and the date his/her complaint was received in USDA. In many cases, the span is
longer than 180 days. Where that is the case, please submit a statement from the client
explaining the reasons for the delay in filing. If the explanations are accepted, the Office
of Civil Rights will extend the 180-day filing period up to two years. Thus, a complaint
may be deemed timely if some allegedly discriminatory action (or non-action) occurred
within two years prior to the complaint filing. Extension to beyond two years without
good cause will be extremely unlikely.

A complaint intake form is enclosed. 1 would encourage you and your clients to

complete and submit this form to the Office of Civil Rights, rather than the standard
letters they have been using. Additionally, please ascertain whether any of your clients

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filed the same complaint earlier at USDA, either with the Office of Civil Rights or
elsewhere in the USDA structure.

At the intake stage we ensure that USDA has jurisdiction over complaints before
they are entered into our system, and then conduct a preliminary inquiry to determine
whether the complaint should be exhaustively investigated, settled, dismissed, or decided
on the merits. Complainants are an important source of information regarding their
discrimination claim, We need your help, and your clients’ help, if we are to identify,
eradicate, and remedy civil rights violations.

You and each of your clients will receive an acknowledgement letter as we
determine whether each individual has timely stated a basis and issue cognizable under
the applicable laws. Similarly, each of your clients will receive a copy of this letter and a
complaint intake form.

Yours sincerely,

Lewy

loy#¥E. Wright
Director

Enclosures:
Two sets of charts
Complaint intake form
Information sheet on program complaints
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THE DISCRIMINATION COMPLAINT ADJUDICATION PROCESS

WHAT: Complaints alleging discrimination in the conduct of programs that are managed
or assisted by the Department of Agriculture are processed by the Program
Investigations Division (PID) of the Office of Civil Rights.

WHY: Various government laws prohibit discrimination based on age, color, disability,
familial status, marital status, national origin, race and sex. A complaint can
allege discrimination on one or more of these bases. Some programs are not
covered in some of the statutes that prohibit specific bases.

WHERE: Mail new complaints, or correspondence about a current complaint to:

USDA, Office of Civil Rights

Room 326-W Whitten Building

Attention: Program Investigations Division
Washington, D.C. 20250

If you need to fax correspondence, our fax number is (202) 205-2891.

To inquire about the status of your complaint, or any further questions, you can
contact PID at (202) 720-5964.

WHEN: You have up to 180 days from the date for the alleged discriminatory incident to
file a discrimination complaint.

HOW: PID determines if discrimination occurred using a method developed by the
courts. The record needs to establish: (1) the program involved is conducted
or assisted by the Department of Agriculture; (2) that the complainant was
qualified to participate in the program in question; (3) that the complainant was
harmed by the agency’s actions or failure to act (for example, an agency failed
to approve a loan that the complainant was qualified to receive); (4) that the
complaint identifies a prohibited basis of discrimination; and (5) there is an
inference that the decision made was based on the motivation the complainant
alleges. If the inference does exist, the agency has a chance to show that the
actions taken were legitimate and not based on discrimination. PID then
Determines the true reason for the decision.
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04/30/98

Julius Davis

Percy Davis
Sarah K. Davis

Ralph Fields

Hezekiah Gibson
Roosevelt Gibson
Walter Gore
Leon Gray

Arthur Griffin

2/9/98 ed,

1985- 86

1994-96

1991-92

1/5/98

1/25/98

10/23/97

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04/30/98

Date Received In

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“complaint? _

Oscar Griffin

William Hampton

Vanico Hanney

Charles Harris

Mary Alice Hayes

Willie Hazelwood

Willie M. Head, Jr.

Macio Hill
Ben Hillsman, Jr.

2/9/98 ed.

1992-97

1991-97

1979-87

1960-87

1989-93

1979-81

Late 1980's

12/15/97

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12/24/97
12/16/97
12/15/97

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Over 180 days 7

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complaint?

Stanley B. Hughes

Lee Andrew Howard, Sr.

Rubin Hudson

Benjamin Jacobs
Alphonso James
Leroy James,
Clara Jenkins

Edward Jenkins

James Jenkins

2/9/98 ed.

1/5/98

12/11/97

11/24/97

12/16/97
12/10/97
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04/30/98

Leo Jenkins

Tobias Jenkins

Andrew Johnson

Charles Johnson

Garrett Johnson
Sammy Johnson

Freddie Jones

Richard Jones

2/9/98 ed.

1986

1982-present

1980-86

none

1/5/98

12/15/97

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04/30/98

Don M. Lucas

Willie Lane

James McAllister

Maurice McGinnis

Romeo Mckinney
Ralph Miller

Ted Miller
Samuel Moe

Joan Nelson

2/9/98 ed.

1983-95

1995-present

1992-93

12/15/97
12/11/97

12/16/97

11/16/97

Over 180 days

no
yes:
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04/30/98

Joe Patterson

Samuel Patterson

Vernon Pennington

ee

Delroy Peterson

James Piggs

Florence Pickston

Lillie Bell Pittman

Eddie Reed

Henry Reed II

2/9/98 ed.

1987-95

1977-97

| 126/97

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Page 63 of 80

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Filed earlier”
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Name

Martin Reynolds

Frank Richards

aout Sanders
Arthur —.
Alexander Scott
Earl P. Shelby
Henry Simmons
Edison Smith

E.J. Smith

2/9/98 ed.

1987-88

we

1/96-present

1987/88-94

1985-present

12/16/97

12/2197

12/23/97

12/7/97
1/20/98
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Vernon Smith .

Wayne Smith .

Willie Stonewall

Cleotra Tanner

Jack Taylor

Johnnie Thomas

Bernice Turner

Shain Weatherly

Bobby Wells

2/9/98 ed.

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12/16/97

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12/23/97

1/26/98
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1/5/98

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04/30/98

12

Date

Received in’

Willie Wheeler

DeMarcus Williams

John Williams, Jr.

Rapheal L. Williams

Yarborough Williams
Paul Wingard

Roy G. Wood

Charles Woodson

2/9/98 ed.

Jr.

1/95-6/96

1/97-6/97

6/7 6-present

1/79-5/79

1970-85

1/26/98
12/7/97

12/23/97

1/5/98

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1/26/98

Over 180 days?

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Filed 07/07/98

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04/30/98

FSA Complaints -- S. Malcolm O. Harrison, Esq.

inCom

Alexander, Otis

Bacon, Stanley

Brown, Joseph

Brunn, Jr., Al

Cole, Jr., Elijiah

Clark, Ronald

| Davis, Alice

Grant, Marquis

3/74/08 sunn. ta 2/9/98 ed.

1990-1997

1988-1995

missing

1988-1991

1940's-1960's

1994-1995

3/18/98

2/10/98

2/9/98

3/4/98

2/23/98

unknown

unknown
yes
yes
unknown
yes
yes

yes

Wo22

Page 67 of 80

Filed 07/07/98

TMasé: T79BsCVO168S8-Pk&E Docucreritp1

04/30/98

(| Overt80

pe Filed earlier

Kinsey, Bobbie

Jackson, Andrew

Lucas, Reginald

Lucas, Veda
Madlock, James
Manning, Charles

Miller, Curtis

3/24/98 sunn. ta 2/9/98 ed.

1987-1998

1987 or 1988

1/1/87-3/1/87

1/1/87-3/1/87

1979-1991

missing

o

1992-199

fae

2/10/98

2/10/98

2/23/98

2/10/98

3/8/98

2/10/98

2/10/98

no

yes

yes

yes

yes

unknown

yes

ee ss pla in Pl days? | complaint?
Hartzog, Elizabeth 1985-1986 2/23/98 yes |?
Henderson, George 1982-1990 2/10/98 yes 7)

oe

x

@o23

Page 68 of 80

Filed 07/07/98

TEasé: F9OBEVO1698-PKF  Docufhert?1

01/30/98

3/24/98 sunn. ta 2/9/98 ed.

2/23/98

at days? compiaint?
Mobley, Aaron 1985-1995 3/18/98 yes closed as
duplicate
of 941202-
522, per
4/3/98
letter to
Harrison
Perry, Carl yes dD
Polk, Clarence unknown 7
Randall, Mattie 2/10/98 | no “~
Sias, Willie missing unknown l

o24

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TEASE‘ P8386 V204 6G8- PU

04/30/98

Name

Smith, James

Taylor, Robert
Washington, Andrew

Watson, Jr., James

Smith, Edward 1994-1998

3/2498 sann. to 2/9/98 ed.

3/4/98

3/4/98 ©

2/10/98

1/13/98

no

yes

unknown

no

unknown

closed as
duplicate
of 971205-
1288
(Harrison
filed both)

Page 70 of 80 (Ho26

Filed 07/07/98

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FSA Complaints — S. Malcolm O. Harrison,

Esq.

ae aman

WHOIS SUPP. Ww arouYy we,

= ovate:
_NAME pee days fe
Barker, Philip R. ee - 1997 unknown .
Bell ill, Tobias 1981-1983 A 2/01/97 yes YY
Cae James 1980 - a _ unknown p -
carthan Joseph : 41978 “1983 unknown f?
Gocper Albert 1286 - 6/97 yes -
Curry, sfimmy i977 - 1994 sons | yes ee
eisan: Onzie 1880 - 1982 3/\ 288 yes P
| anes, Sheila 1904 -1996 3/1 3/88 yes to
Jones, Clem 1976 - 1998 . unknown T
Hough, Theodore 1975 - 1997 , unknown | 7

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Filed 07/07/98

TIWASE 1798 CV4O1693-PLE Documend1

04/30/98

FSA Complaints -- S. Malcolm O. Harrison,

Esq.

score NAME _ eo days?
Lampley, William ‘on “1 086 yes LC
Lows Jr, Elijah : 1980 “4 200 yes >
Mein nis, Kenzie 1 983 ~ 1985 _| yes ~D
Moore, Jessie 1984 7 1985 | yes p
Short Olver 1990 - 1993 yes P
Straughter, McArthur 1964 - 1985 yes Dp
White, Michael 190 : 1995 yes dD
Whittington, Carl 1990 - present unknown (
Winters, Freddie ie . 1997 unknown J
SHZISS wigne. tw DSS od.

04/30/98 THagé:DM8acv201698-PEF Docunrertpl Filed 07/07/98 Page 72 of 80 @oo2
USDA CN Fille
fn . i
aa PICPARY

Souaue se APA 30 1998

Othoajot Via facsimile transmission
(601-968-3866) and first class mail

a T. Roe Frazer, II
LANGSTON FRAZER SWEET & FREESE, P.A.
201 North President Street
Jackson, Mississippi 39201

RE USDA Program Discrimination Complaints
Lodged November 12, 1997 - March 17, 1998

Dear Mr. Frazer:

[ understand that attorney Malcolm Harrison has departed from your firm. During
the period noted above, Mr. Harrison forwarded 163 potential discrimination complaints
to the Office of Civil Rights for processing. Another potential discrimination complaint
was filed by Mr. Tobias Bell, III who advised this office that he would be represented by
Mr. Harrison. We have not accepted thesé cases because they appear to have been
untimely filed. I wrote Mr. Harrison about this issue on February 11 and received a
March 16 response. This is how we will now proceed.

As you probably know, complaints should be filed within 180 days of the date of
the alleged discriminatory act under the federally-assisted programs (7 C.F.R. 15.6) or,
under federally-conducted programs, from the date the individual knew or should have
known of the alleged discrimination (7 C.F.R. 15.52). USDA has often extended the time
frame to two years, in recognition of the two-year statute of limitations for bringing suit
under the Equal Credit Opportunity Act. We have now decided to dismiss those
complaints filed beyond the two-year statute of limitations.

The attached charts show the dates of discrimination each of your clients cited and
the date his or her complaint arrived at USDA. I have annotated those cases filed more
than two years after the alleged discrimination with a “D.” Where the information from
your client was insufficient to make that calculation, I have annotated the case “U.”
Where the information appears to indicate a timely filing, the case is marked “T.”

Several “U” cases allege discrimination “to the present.” Those matters have also been
classified as “U” because the allegation is too vague to discern whether some discrete,
allegedly discriminatory act occurred within the complaint filing period.

98 1093

AN EQUAL OPPORTUNITY EMPLOYER
04/30/98 Wase bYS.0v101693-PLe Document Filed 07/07/98 Page 73 of 80 003

This Office needs additional information for your client’s cares denoted “D” and
“U” in order to determine whether an allegedly discriminatory USDA action (or inaction)
occurred within two years of their filing dates. We recommend that you use this Office’s
enclosed complaint intake form to provide this information with the required specificity.
Insofar as we requested the same information in our February 11 letter, we will now
dismiss the “D” and “U” cases if we do not receive that information within 20 days of this

letter’s date.

Additionally, if any client’s claim is against the Farm Service Agency (FSA) and
exceeds the two-year filing time frame, please inform us as to whether that individual
filed an earlier USDA complaint alleging race discrimination by FSA with respect to the
provision of credit. A copy of the prior discrimination complaint and processing
documents, or a certified statement detailing the filing and processing of the prior
complaint, should be supplied to our Office.

You and each of your clients will receive an acknowledgment letter if we
determine that the individual has timely stated a basis and issue cognizable under our
laws. Similarly, each of your clients will receive a copy of this letter as well, annotated to
show into which grouping his or her complaint falls.

[ appreciate your cooperation in these matters. The Office of Civil Rights can be
reached at 202-720-5212 should you have questions or concerns, or you may contact
Susan Reilly, Associate Chief, who is managing this case toad in the Program
Investigations Division. Her number is 202-720-5964.

Lloyd E. Wright
Director

Enclosures:

Four charts
Copy of intake complaint form
04/30/98 BASE bPGnQVQI693-Plig Documeptg Filed 07/07/98 Page 74 of 80 Boos

USL IA OFFICE OF CIVIL RIGHTS

al pil PROGRAM INVESTIGATIONS DIVISION
COMPLAINT DETERMINATION DATA

Plense complete this form by providing the missing information:
Case number (to be assigned by USDA):
Naine:

Aditiress:
Telzphone number: Home ( ) Work ( )

Appropriate time to call you:

Attorney Representative:

Ad-iress:

Telephone Number:

Op'ional Information: Your race: Your sex:

USDA Agency Involved:

All2ged discriminatory actions by agency: Please describe the decisions or actions you believe were
dist:riminatory, the dates each incident occurred, and the USDA offices/officials with whom you dealt.
Please be concise, but add additional pages as necessary:

I. Action/Inaction:

Date of Action/Inaction:
County Office:
County Official:

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Filed 07/07/98

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04/30/98

FSA Complaints -- S. Malcolm O. Harrison, Esq.

Name

Roy H. Adam

Herbert C. Allan, Sr

Donnie Bell

Kirk Benoit

James Beverly, Jr.

Cynthia Blackshire
John W. Bonner
Milton Boyd

W.E. Brandon

2/9/98 ed.

1985-93

1982-present
6/93-1 2/95
1/80-2/85

1986-88

1983

1985-91

2/80-3/85

1983-97

1/5/98

1/26/98

12/10/97

11/17/97

1/26/98

Tan
soo a
yes
yes
yes
yes

yes

yes

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le ye

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Filed 07/07/98

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04/30/98

Eddie Carthan

Willie Clark

Houston Colemen
Robert Coleman
Andrew Cooper
Dennis Cownell
Stanford Crossman
Alfort Davis

Bobby Davis

2/9/98 ed.

1991-present

1983-84

12/46/97
12/16/97
12/23/97

1/5/98

yes

unknown

unknown

unknown

yes

dD

gj009

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04/30/98

2

Reason for delay

David Brown, Jr.

Leon Brown

Valley Brown

Aberra Bulbulla

Allie Bullock

Reginald Burns

James L.B. Caesar

Samuel Cain

2/9/98 ed.

1985 (FSA loan)
11/8/97 RHS
application?

Separate claim?

4/15/94-10/20/94

11/17/97

1/27/98

1/27/98

12/16/97

11/17/97

1/5/98

Over 180 days?

yes

yes
yes
unknown

yes

yes

yes

yes

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(nev, O7i00 CIVIL} WER SHEET JU: £

Ths JS-44 elvil cover sheet and tha Information contalt.ed hares neither replace nor supplement the fling and service of pleadings or other papers as unilge: aw, utropt as provided by lecal
idee of court. This form, approved by the. idiclal Conference of the United States in September 1974, ls required for the use-ofihe Clerk of Court fo "ths purpoe rs!’ Htiating the civil docket eheet.

(SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

| (a) PLAINTIFFS DEFENDANTS
CECIL C. BREWINGTON et al. DAN GLICKMAN, Secretary
(b) county oF RESIDENCE OF FIAST LISTED PLAINTIFF © — GI COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)
NOTE: IN LAND CONDEMNATION CASES, USE THE-LOCATION OF THE
TOAST AOC AA BAe

CASH NUMBER 1:98CV01693
(C) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)

Alexander J. Pires ied
Conlon, Frantz, Phelan, Pires & Leav} JUDGH: Paul L. Friedman

1818 N Street, N.W., Ste. 700
Washington, D.C. 20036
Ph: (202)331-7050

DECK TYPE: Civil General

DATE STAMP: 07/07/98
ll. BASIS OF JURISDICTION PUCE AN x one soxomm | |
{our uwerony Vaaws vinyy nT erry emer rem Sear yore SOR RE TRAE ty
O 1 U.S, Government O 3 Federal Question
Plaintiff (U.S. Government Not a Party) PTF DEF PTF DEF
Citizen of This State or ot Incorporated or Principal Place O4 04
/ ‘a 2 U.S. Govecnment o4 Diversity - of Business In This State
Defendant (Indicate Citizenship of Citizen of Another State O2 02 Incorporated and Principal Place OS O5
Parties in Item Ill) of Business In Another State
Cltlzen or Subject of a O03 O3 Foreign Nation O6 o86
Foreign Country

IV. CAUSE OF ACTION (CATE THE U S. CIVE STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRNEF STATEMENT OF CAUSE.

OO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY)

The United States Department of Agriculture (USDA) violated the Civil Rights
Act, the due process clause of the Fifth Amendment, Title VI and the Equal

Credit Opportunity Ack lnyz not processing discrimination comp aintis bbw 983 &

V. NATURE OF SUIT (PLACE AN x IN ONE BOX ONLY) 1997.
CONTRACT TORTS 4 FORFEITURE /PENALTY BANKRUPTCY OTHER STATUTES
O 110 tnewance PERSONAL INJURY PERSONAL INJURY 810 0 422 Appeat © 400 sune
CO 120 Mane (310 Ampiene Personal injury |) O20 Other Food & Drug 28 USC 158 Reapportionment
© 130 pater Acs 0 345 Axptene Product Gise2 my 0) 625 Orug Rotated Seizure ot D 423 wihdrewal © 410 Artest
Q 140 Instrument 01365 Personal tury— | (1630 Liquor Les 28 USC 187 CO 430 Banks and Banking
© 150 Recovery of Overpayment 0 320 Assout, tide! & 0 368 ability (3640 RA & Tuck PROPERTY RIGHTS Sheotec emer cele
Asbestos Personal Oeportation
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Medeare nt 0 830 Pater C a
0 152 Recovery of Defouted O 340 Manne tyftealt C810 Selective Service
Student Loans O 345 Manne Product ooo PROPERTY |_[]690 Otmer 0 640 tademars OC 850 Securties/Commodities/
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(] 160 Stocknolders Suts Product Liataity Property Damage O70 Lung (923) © 891 Agrcutural Acts
1) 190 Omer Contract 0 360 Other Personal 0 385 Property Damage Labor /Mgrrd 0 863 Orwc/orww (405(9)) C0 892 Econom Statsization
© 195 Contract Product Leateety injury Product Liability o70 eens 0 664 SSID Tate x hat
REAL PROPERTY Rept &. 0 865 Ast (405ia) 893 Environmental Matiors
GVIL RIGHTS PRISONER PETITIONS Oacloeure Act D 894 Energy Allocation Act
G20 Land Condernnahon CD 441 ving , 510 Motions to Vacate C1740 Raiway Labor FEDERAL TAX SUITS 83s oar,
220 Forectosure O 442 Employment Sentence 0790 0 870 Taxes (US. Plamtit D0) 900 Appeal of Fee Deternsnation
CJ 230 Rem Lease & Eyectment D 443 Housing’ Habeas Corpus: Osher Labor or Defendant) Under Equal Access to
© 240 tons to Lang Accommodations C530 General 0799 enon Ret ine O 871 IRS— Thro Panty Justice
0 245 ton Product Liatsity Wellare C535 Death Penary Secunty Act 26 USC 7609 D950 Constiutonaiity of
0 290 An Omer Real Property | «iT (Chad Rights G 540 Mandamus & Orher 9 Stale Stanses
_ C550 Ome ir 890 Ciiier Stattory
Appeal to District
VI. ORIGIN (PLACE AN x IN ONE BOXONLY) —pancterced trom O 7 fudge from
& 1 Original O 2 Removed trom O 3 Remanded from (2 4 Reinstated or O 5 another district O 6 Mulidistrict Magistrate
5 Proceeding State Court Appellate Court Reopened (specity) Litigation Judgment
Vil. REQUESTED IN ss cHeck iF THis is A CLASS ACTION DEMAND $ Check YES only if demanded in complajAt’ :
COMPLAINT: O UNDER FR.C.P. 23 JURY DEMAND: OES
Vill. RELATE CASE(S) 8): —
Sf ft Pigford v. Glickman
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UNITED sh Es Ae COURT

FPHLLEX 91
Case 1:98-cv-01693-PLF Document1 Filed 07/07/98 Page 79 of 80

Category in which case belongs:

A.

Anti-Trust Cases
Malpractice Cases (Legal/Medical)

Temporary Restraining Orders and Preliminary Injunctions (If a
TRO is requested in an Anti-Trust, the A designation will govern)

General Civil Cases (Check onty one)
Ke. General Civil Cases
____ Three Judge Court Case
Pro Se General Civil Cases
Habeas Corpus Cases

Equal Employment Opportunity Cases (If filed by a pro se litigant,
the case is to be assigned from this H Category)

Freedom of Information Act Cases (If filed by a pro se litigant, the
case, is to be assigned from this I Category)

Case 1:98-cv-01693-PLF Document1 Filed 07/07/98 Page 80 of 80
UNITED STATBS DISTRICT COURT

FOR THE DISTRICT OF COLUMBIA

NOTICE OF DESIGNATION OF RELATED CIVIL/MISCELLANEOUS CASES

PENDING IN THIS OR ANY OTHER UNITED STATES COURT ( 7
civit Action WO 1693

(To be supplied by the Clerk)

NOTICE TO THE PLAINTIFF:

Pursuant to Rule 405(b)(2), you are required to prepare and submit this form at the time of filing any civil or miscellancous case which
is related to any pending case(s) or which involves the same parties and relates to the same subject matter of any dismissed related case(s). This
form must be prepared in sufficient quantity to provide one copy for the Clerk's records, one copy for the Judge to whom the case is assigned and
one copy for each defendant, so that you must prepare 3 copies for a one defendant case, 4 copics for a two defendant case, etc.

NOTICE TO DEFENDANT;

Rule 405(b)(2) of this Court requires that you serve upon the plaintiff and file with your first responsive pleading or motion any objection
you have to the related case designation. :

NOTICE TO ALL COUNSEL

Rules 405(b)(3) of this Court requires that as soon as an attorney for a party becomes aware of the existence of a related case or cases,
such attomey shall immediately notify, in writing, the Judges on whose calendars the cases appear and shall serve such notice on counsel for all
other partics.

¢ plaintiff or counsel for plaintiff will please complete the following:

1. RELATIONSHIP OF NEW CASE TO PENDING RELATED CASE(S).

A new case is deemed related to a case pending in this or another U.S. Court if the new case: [Check appropriate box(es) below.]

{ ) (a) relates to common property
a (b) involves common issues of fact
uM (c) grows out of the same event or transaction
{ J (d) involves the validity or infringement of the same patent
{ ] (e) is filed by the same pro se litigant
2. RELATIONSHIP OF NEW CASES TO DISMISSED RELATED CASE(S).

A new cases is deemed related t a case dismissed, with or without prejudice, in this or any other U.S. Court, if the new case involves
the same parties and relates to the same subject matter.

Check box if new cases is related to a dismissed case: {]

3. NAME THE U.S. COURT IN WHICH THE RELATED CASE IS FILED (IF OTHER THAN THIS COURT):
4, CAPTION AND CASE NUMBER OF RELATED CASE(S). IF MORE ROOM IS NEEDED PLEASE USE THE OTHER SIDE.
DGeok> ty A. va G Lid Apa c.a.no. “94 ~ (778
—— | ——_

Signatieé of Plaintiff (or counsel)

CO-932
Rev. 1/96
